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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


 Frank Siragusa, on behalf of himself and all         Case No.:
 others similarly situated,
                                                      JURY TRIAL DEMANDED
                               Plaintiff,

                  vs.

 Taco Bell Corp.,

                               Defendant.



                                 CLASS ACTION COMPLAINT

        Plaintiff Frank Siragusa, by and through his undersigned counsel, upon personal

knowledge as to himself and upon information and belief as to all other matters, allege as follows:

        1.      Plaintiff brings this action against defendant Taco Bell Corp. (“Taco Bell”), on

behalf of himself and all other similarly situated individuals who purchased a Crunchwrap

Supreme®, Grande Crunchwrap®, Vegan Crunchwrap®, Mexican Pizza, and/or Veggie Mexican

Pizza, from a Taco Bell located in New York during the period July 31, 2020, through the date of

the final disposition of this action.

                                   FACTUAL ALLEGATIONS

        2.      This is a class action against Taco Bell for unfair and deceptive trade practices for

falsely advertising the amount of beef and/or ingredients contained in Taco Bell’s Crunchwrap

Supreme®, Grande Crunchwrap®, Vegan Crunchwrap®, Mexican Pizza, and Veggie Mexican

Pizza menu items (the “Overstated Menu Items”).




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        3.     Taco Bell’s advertisement for the Crunchwrap Supreme® looks as follows when

 compared to the actual item provided to customers 1:

CRUNCHWRAP SUPREME® ADVERTISMENT                        ACTUAL CRUNCHWRAP® SUPREME RECEIVED




        4.      Taco Bell’s advertisement for the Grande Crunchwrap® looks as follows when

 compared to the actual item provided to customers 2:

GRANDE CRUNCHWRAP® ADVERTISMENT                         ACTUAL GRANDE CRUNCHWRAP® RECIEVED




 1
  The current advertisement for the Crunchwrap Supreme® can be located at
 https://www.tacobell.com/food/specialties/crunchwrap-supreme, and the photograph of the actual
 Crunchwrap      Supreme®         received     by    a     customer     can   be      located at
 https://www.reddit.com/r/tacobell/comments/u6fslk/crunch_wraps_are_a_joke_nowadays/.
 2
  The advertisement for the Grande Crunchwrap Supreme® can be located at
 https://www.tacobell.com/food/specialties/grande-crunchwrap, and the screenshot of the actual
 Crunchwrap Supreme® received by a customer can be located at https://youtu.be/ZgsnCUs4S2A?t=445.


                                                2
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        5.       Taco Bell’s advertisement for the Vegan Crunchwrap® looks as follows when

 compared to the actual item provided to customers 3:

VEGAN CRUNCHWRAP® ADVERTISMENT                           ACTUAL VEGAN CRUNCHWRAP® RECIEVED




        6.      Taco Bell’s advertisement for the Mexican Pizza looks as follows when compared

 to the actual item provided to customers 4:

MEXICAN PIZZA ADVERTISMENT                               ACTUAL MEXICAN PIZZA RECIEVED




 3
  The advertisement for the Vegan Crunchwrap® can be located at https://www.foodnetwork.com/fn-
 dish/news/where-to-get-taco-bell-vegan-crunchwrap-supreme, and the screenshot of the actual Vegan
 Crunchwrap® received by a customer can be located at https://youtu.be/lQZX3qeu2FA?t=83.
 4
  The      advertisement       for      the       Mexican      Pizza     can       be      located    at
 https://www.tacobell.com/food/specialties/mexican-pizza, and the screenshot of the actual Mexican Pizza
 received by a customer can be located at https://www.insider.com/review-taco-bell-mexican-pizza-2022-5.


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         7.      Taco Bell’s advertisement for the Veggie Mexican Pizza looks as follows when

  compared to the actual item provided to customers 5:

VEGGIE MEXICAN PIZZA ADVERTISMENT                       ACTUAL VEGGIE MEXICAN PIZZA RECIEVED




         8.      Taco Bell materially overstates the amount of beef and/or ingredients contained in

  its advertisements for the Overstated Menu Items by at least double the amount.

         9.      Taco Bell uses the same uniform photographs on Taco Bell’s in-store and drive-

  thru menu ordering boards, on the website Tacobell.com, and on food delivery service websites

  and mobile ordering applications, including Ubereats.com, Postmates.com, Grubhub.com,

  Seamless.com, and Doordash.com.

         10.     Taco Bell’s advertisements for the Overstated Menu Items are unfair and

  financially damaging to consumers as they are receiving a product that is materially lower in value

  than what is being promised.




  5
   The      advertisement   for    the      Veggie    Mexican      Pizza    can     be     located    at
  https://www.tacobell.com/food/specialties/veggie-mexican-pizza?store=034922, and the screenshot of the
  actual Veggie Mexican Pizza received by a customer can be located at https://www.insider.com/review-
  taco-bell-mexican-pizza-2022-5.

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       11.     Taco Bell’s actions are especially concerning now that inflation, food, and meat

prices are very high and many consumers, especially lower income consumers, are struggling

financially.

       12.     Taco Bell’s promise to consumers of a large portion of food with their purchase are

also causing consumers to come to, or order from, Taco Bell’s restaurants and make purchases that

they would not have otherwise made.

       13.     Taco Bell is also unfairly competing with restaurants that more fairly advertise the

size of their menu items.

       14.     Taco Bell advertises larger portions of food to steer consumers to their restaurants

for their meals and away from competitors that more fairly advertise the size of their menu items,

unfairly diverting millions of dollars in sales that would have gone to competitors.

       15.     On September 15, 2022, a reporter for The U.S. Sun published an article stating

that the Mexican Pizza “wasn’t as beefy as the commercial pictures made it look.” 6

       16.     On June 15, 2022, a reporter for Mashed.com published an article stating that many

consumers were complaining about the lack of beef in Taco Bell’s Crunchwrap. 7

       17.     Numerous consumers have also posted complaints online. For example, a YouTube

food reviewer named Brennen Taylor, who has extensive experience reviewing food items, posted

a review of the Mexican Pizza on September 16, 2022, in which he stated that the Mexican Pizza

he    purchased      did    not     look    like       the   pictures   or    advertisements.      See

https://youtu.be/TCEs96yzf5g?t=110.


6
 Anthony Russo, PIZZA THAT I tried Taco Bell’s new Mexican pizza as it returns to menu again – it looks
NOTHING like the pictures, THE U.S. SUN, September 15, 2022, https://www.the-
sun.com/money/6213398/taco-bell-mexican-pizza-review-taste-2/.
7
 Colin McCandless, Why Reddit Is Calling Out Taco Bell's Skimpy Crunchwraps, MASHED, June 15, 2022,
https://www.mashed.com/896849/why-reddit-is-calling-out-taco-bells-skimpy-crunchwraps/.

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       18.      On October 2, 2022, a YouTube food reviewer with extensive experience reviewing

food items, who has a YouTube channel named It's Birdie!, posted the following YouTube short

titled “Taco Bell’s Mexican Pizza Is Not The Same” and she stated that the new Mexican Pizza

was   smaller    than    Taco   Bell’s   original       Mexican   Pizza   and   not   as   thick.   See

https://www.youtube.com/shorts/1hau9Ny-dl4.

       19.      On September 20, 2022, Plaintiff purchased a Mexican Pizza at a Taco Bell store

located in Ridgewood, New York for $5.49 plus tax.

       20.      Plaintiff viewed Taco Bell’s advertisements on the internet and at the store location

before purchasing his Mexican Pizza and expected the Mexican Pizza that he purchased to contain

a similar amount of beef and bean filling as contained in the pictures of the Mexican Pizza in Taco

Bell’s advertisements.

       21.      However, the Mexican Pizza that Plaintiff purchased contained approximately half

of the beef and bean filling that he expected and looked like the images posted by other customers

and cited herein.

       22.      If Plaintiff knew that the Mexican Pizza contained half of the amount of beef and

bean filling as advertised, he would not have purchased the Mexican Pizza and/or he would not

have paid the $5.49 price that he paid for the Mexican Pizza.

       23.      Plaintiff, on behalf of himself and all others similarly-situated, seek to end Taco

Bell’s unfair and materially misleading advertising and request the following: 1) monetary

damages fully compensating all individuals who purchased an Overstated Menu Item; 2) injunctive

relief requiring Taco Bell to provide corrected advertising and/or to stop selling the Overstated

Menu Items; and 3) such other relief as the Court deems necessary and appropriate.




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                                         THE PARTIES

       24.     Plaintiff Frank Siragusa is a resident of Ridgewood, New York. During the Class

Period (defined below), Mr. Siragusa purchased an Overstated Menu Item at a Taco Bell store

located in Ridgewood, New York, within the Court’s district.

       25.     Defendant Taco Bell System, Inc., is a California corporation, with its headquarters

located in Irvine, California. Taco Bell conducts business, directly or indirectly, in New York,

under the name Taco Bell®.

                                JURISDICTION AND VENUE

       26.     This Court has original diversity jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). Plaintiff is a citizen of the State of New York and Defendant

Taco Bell is a citizen of the State of California and is headquartered with its principal place of

business in the state of California. The matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, and this is a class action in which the number of

members of the proposed class is not less than 100.

       27.     In addition, this Court has diversity jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S. C. § 1332(a) because the matter in controversy, which includes Plaintiff’s

claims and the claims of the proposed class members, exceeds the sum or value of $75,000,

exclusive of interest and costs, and certain members of the proposed class are citizens of states

different from the states in which Defendant is a citizen.

       28.     Venue is proper pursuant to 28 U.S.C. § 1391. A substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this judicial district. Also, Defendant has

used the laws within, and has done substantial business in, this judicial district in that it has




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promoted, marketed, distributed, and sold the products at issue in this judicial district. Finally,

there is personal jurisdiction over Defendant in this judicial district.

                                CLASS ACTION ALLEGATIONS

        29.      Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(a) and

23(b)(2) and (b)(3) on behalf of the following class:

              All persons or entities that purchased a Crunchwrap Supreme®, Grande
              Crunchwrap®, Vegan Crunchwrap®, Mexican Pizza, or Veggie Mexican Pizza,
              from a Taco Bell, located in the state of New York, during the period between
              July 31, 2020, through the date of the final disposition of this action (the
              “Class”).

        30.      Plaintiff reserves the right to amend the definition of the Class if discovery and

further investigation reveals that the Class should be expanded or otherwise modified.

        31.      Plaintiff reserves the right to establish additional sub-classes as appropriate.

        32.      This action is brought and properly may be maintained as a class action under the

provisions of Federal Rules of Civil Procedure 23(a)(l)-(4) and 23(b)(2) and (b)(3), and satisfies

the requirements thereof.

        33.      There is a well-defined community of interest among members of the Class, and

the disposition of the claims of these members of the Class in a single action will provide

substantial benefits to all parties and to the Court.

        34.      The members of the Class are so numerous that joinder of all members of the Class

is impracticable. At this time, Plaintiff believes that the Class includes thousands of

members. Therefore, the Class is sufficiently numerous that joinder of all members of the Class

in a single action is impracticable under Federal Rule of Civil Procedure Rule 23(a)(l), and the

resolution of their claims through the procedure of a class action will be of benefit to the parties

and the Court.



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       35.     Plaintiff’s claims are typical of the claims of the members of the Class whom he

seeks to represent because Plaintiff and each member of the Class has been subjected to the same

deceptive and improper practices by Defendant and have been damaged in the same manner.

       36.     Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class as required by Federal Rule of Civil Procedure Rule 23(a)(4). Plaintiff has

no interests that are adverse to those of the members of the Class that he seeks to

represent. Plaintiff is committed to the vigorous prosecution of this action and, to that end,

Plaintiff has retained counsel that is competent and experienced in handling complex class action

litigation on behalf of consumers.

       37.     A class action is superior to all other available methods of the fair and efficient

adjudication of the claims asserted in this Complaint under Federal Rule of Civil Procedure

23(b)(3) because:

               a. The expense and burden of individual litigation would not be economically

                    feasible for members of the Class to seek to redress their claims other than

                    through the procedure of a class action.

               b. If separate actions were brought by individual members of the Class, the

                    resulting multiplicity of lawsuits would cause members to seek to redress their

                    claims other than through the procedure of a class action; and

               c. Absent a class action, Defendant likely would retain the benefits of its

                    wrongdoing, and there would be a failure of justice.

       38.     Common questions of law and fact exist as to the members of the Class, as required

by Federal Rule of Civil Procedure 23(a)(2), and predominate over any questions that affect

individual members of the Class within the meaning of Federal Rule of Civil Procedure 23(b)(3).



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        39.     The common questions of fact include, but are not limited to, the following:

                d. Whether Defendant’s advertisements are materially misleading;

                e. Whether Defendant engaged in unlawful, unfair, misleading, or deceptive

                    business acts or practices;

                f. Whether a reasonable consumer could be misled by Defendant’s

                    advertisements;

                g. Whether Defendant’s advertisements violate N.Y. Gen. Bus. Law § 350;

                h. Whether Plaintiff and members of the Class are entitled to an award of

                    reasonable attorneys’ fees, pre-judgment interest, and costs of this suit.

        40.     In the alternative, this action is certifiable under the provisions of Federal Rule of

Civil Procedure 23(b)(2) because Defendant has acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive relief or corresponding

declaratory relief with respect to the Class as a whole and necessitating that any such relief be

extended to members of the Class on a mandatory, class-wide basis.

        41.     Plaintiff is not aware of any difficulty that will be encountered in the management

of this litigation that would preclude its maintenance as a class action.

                                          COUNT I
                    Violation of New York Deceptive Acts and Practices Act,
                                   N.Y. Gen. Bus. Law § 349

        42.     Plaintiff incorporates by reference the allegations in every paragraph in this

complaint.

        43.     New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . .”



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       44.     The conduct of Defendant alleged herein constitutes recurring, “unlawful”

deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff and the members of

the Class seek monetary damages and the entry of preliminary and permanent injunctive relief

against Defendant, enjoining it from inaccurately describing, labeling, marketing, and promoting

the Overstated Menu Items.

       45.     Defendant misleadingly, inaccurately, and deceptively presents the Overstated

Menu Items to consumers.

       46.     Defendant’s improper consumer-oriented conduct is misleading in a material way

in that it, inter alia, induced Plaintiff and the Class Members to purchase and/or pay a premium

for Defendant’s Overstated Menu items when they otherwise would not have. Defendant made its

untrue and/or misleading statements and representations willfully, wantonly, and with reckless

disregard for the truth.

       47.     Plaintiff and the members of the Class have been injured inasmuch as they received

approximately 100% less than the amount of beef and ingredients that were advertised.

Accordingly, Plaintiff and the members of the Class received less than what they bargained and/or

paid for.

       48.     Plaintiff and the members of the Class suffered damages amounting to the price

that Taco Bell charges consumers for double the meat and/or ingredients, the exact amount to be

determined at trial.

       49.     Defendant’s deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiff and the members of the Class have been damaged thereby.




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       50.      As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and the members of the Class are entitled to monetary, compensatory, statutory, and treble

damages, interest, and attorneys’ fees and costs. This includes actual damages under GBL § 349,

as well as statutory damages of $50 per unit purchased pursuant to GBL § 349.

                                          COUNT II
                    Violation of New York Deceptive Acts and Practices Act,
                                   N.Y. Gen. Bus. Law § 350

       51.      Plaintiff incorporates by reference the allegations in every paragraph in this

complaint.

       52.      N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

             The term “false advertising” means advertising, including labeling, of a
             commodity, or of the kind, character, terms or conditions of any employment
             opportunity if such advertising is misleading in a material respect. In determining
             whether any advertising is misleading, there shall be taken into account (among
             other things) not only representations made by statement, word, design, device,
             sound or any combination thereof, but also the extent to which the advertising fails
             to reveal facts material in the light of such representations with respect to the
             commodity or employment to which the advertising relates under the conditions
             prescribed in said advertisement, or under such conditions as are customary or
             usual.

       53.      Defendant’s advertisements contain untrue and materially misleading statements

concerning the amount of beef and/or ingredients contained in the Overstated Menu Items.

       54.      Defendant’s advertising induced Plaintiff and the members of the Class to buy

Defendant’s menu items.

       55.      Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       56.      Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.




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       57.     Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Overstated Menu Items were and continue to be exposed to Defendant’s material

misrepresentations.

       58.     Plaintiff and the members of the Class have been injured inasmuch as they received

approximately 100% less than the amount of beef and/or ingredients that were advertised.

Accordingly, Plaintiff and the members of the Class received less than what they bargained and/or

paid for.

       59.     Plaintiff and the members of the Class suffered damages amounting to the price

that Taco Bell charges consumers for double the meat and/or ingredients, the exact amount to be

determined at trial.

       60.     As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and the members of the Class are entitled to monetary, compensatory, statutory, and treble

damages, interest, and attorneys’ fees and costs, as well as statutory damages of $500 per unit

purchased.

                                     RELIEF REQUESTED

       61.     Accordingly, Plaintiff, on behalf of himself and the members of the Class, seek

judgment as follows:

       A.      Certifying the Class as requested herein, certifying Plaintiff as the representative of

the Class, and appointing Plaintiff’s counsel as counsel for the Class;

       B.      Ordering that Defendant is financially responsible for notifying all members of the

Class of the alleged misrepresentations and omissions set forth herein;




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       C.      Awarding Plaintiff and the members of the Class statutory damages or

compensatory damages in an amount according to proof at trial;

       D.      Awarding declaratory and injunctive relief, including: enjoining Defendant from

continuing the unlawful practices as set forth herein, and directing Defendant to identify, with

Court supervision, victims of their conduct and pay them restitution and disgorgement of all

monies acquired by Defendant by means of any act or practice declared by this Court to be

wrongful or unlawful;

       E.      Ordering Defendant to stop selling Overstated Menu Items or to correct the

deceptive behavior;

       F.      Awarding interest on the monies wrongfully obtained from the date of collection

through the date of entry of judgment in this action;

       G.      Awarding attorneys’ fees, expenses, and recoverable costs reasonably incurred in

connection with the commencement and prosecution of this action; and

       H.      Directing such other and further relief as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff and the Class

demand a trial by jury as to all matters so triable.

Dated: July 31, 2023
                                                        ___________________________
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